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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                     Plaintiff,                                8:14CR316
      vs.
                                                                 ORDER
ENRIQUE NAJAR and
BRETT BOOKER,
                     Defendants.

        This matter is before the court on the motion for an extension of time by
defendant Brett Booker (Booker) (Filing No. 41). Booker seeks an extension of thirty
days in which to file pretrial motions in accordance with the progression order. Booker’s
counsel represents that Booker will file an affidavit wherein he consents to the motion
and acknowledges he understands the additional time may be excludable time for
purposes of the Speedy Trial Act. Booker’s counsel represents that government’s
counsel has no objection to the motion. Upon consideration, the motion will be granted
and the pretrial motion deadline will be extended as to both defendants for a period of
thirty days.

        IT IS ORDERED:
        Defendant’s motion for an extension of time (Filing No. 41) is granted. The
defendants are given until on or before March 31, 2015, in which to file pretrial motions
pursuant to the progression order. The ends of justice have been served by granting
such motion and outweigh the interests of the public and the defendants in a speedy
trial. The additional time arising as a result of the granting of the motion, i.e., the time
between February 17, 2015, and March 31, 2015, shall be deemed excludable time in
any computation of time under the requirement of the Speedy Trial Act for the reason
defendants’ counsel require additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(7)(A) & (B).

       Dated this 17th day of February, 2015.

                                                 BY THE COURT:

                                                 s/ Thomas D. Thalken
                                                 United States Magistrate Judge
